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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
XHEJNI SHKRETA,                                                       :

                                       Plaintiff,                    :

                   - against -                                       :            ORDER

COLONNADE MANAGEMENT CORPORATION,                                   :       20-CV-6134 (RA)(KNF)
COLUMBUS PROPERTIES, INC., and JOHN
DIMURRO,                                                             :

                                        Defendants.                   :
------------------------------------------------------------------------X
KEVIN NATHANIEL FOX
UNITED STATES MAGISTRATE JUDGE


IT IS HEREBY ORDERED that a telephone conference shall be held in the above- captioned

action on June 15, 2021, at 10:00 a.m. All parties are directed to call (888) 557-8511 and,

thereafter, enter access code 4862532.

Dated: New York, New York                                  SO ORDERED:
       June 10, 2021
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